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   1   XAVIER BECERRA
       Attorney General of California
   2   ANTHONY R. HAKL
       Supervising Deputy Attorney General
   3   RYAN A. HANLEY
       Deputy Attorney General
   4   State Bar No. 330729
        1300 I Street, Suite 125
   5    P.O. Box 944255
        Sacramento, CA 94244-2550
   6    Telephone: (916) 210-6064
        Fax: (916) 324-8835
   7    E-mail: Ryan.Hanley@doj.ca.gov
       Attorneys for
   8   State Defendants
   9
  10                     IN THE UNITED STATES DISTRICT COURT
  11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12
  13
  14   ELECTION INTEGRITY PROJECT             2:21-cv-00032
       CALIFORNIA, INC, et al.,
  15                                             MEMORANDUM OF POINTS
                                     Plaintiffs, AND AUTHORITIES IN SUPPORT
  16                                             OF STATE DEFENDANTS’
                   v.                            MOTION TO DISMISS THE
  17                                             COMPLAINT
  18   ALEX PADILLA, California              Date: April 9, 2021
       Secretary of State, et al.,           Time: 10:00 A.M.
  19                                         Courtroom: 7B
                                             Judge: The Hon. André Birotte Jr.
  20                             Defendants. Action Filed: January 4, 2021
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                                                 Memo of Ps & As ISO State Defendants’ Motion to
                                                           Dismiss the Complaint (2:21-cv-00032)
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   1
   2                                     INTRODUCTION
   3        This is a meritless lawsuit seeking to disenfranchise the more than 17.5

   4   million Californians who voted in the 2020 general election, based on wild and

   5   speculative innuendo alluding to internal, widespread fraud that did not occur. It is

   6   the latest in a line of similar—and similarly reckless—lawsuits peddling conspiracy

   7   theories that seek to undermine public confidence in the integrity of our elections.

   8   Like its counterparts, which have been rejected by court after court across the

   9   country, this case should be dismissed without leave to amend.

  10        Plaintiffs are ten congressional candidates who lost in the general election, and

  11   the nonprofit Election Integrity Project California, Inc. (“EIPCa”). They raise their

  12   claims against three state officials, named in their official capacities—Secretary of

  13   State Dr. Shirley Weber,1 Governor Gavin Newsom, and Attorney General Xavier

  14   Becerra (collectively, “State Defendants”)—and thirteen County Registrars of

  15   Voters (collectively, “County Defendants”). Against both State and County

  16   Defendants, Plaintiffs allege injuries under four provisions of the United States

  17   Constitution—the Elections Clause, the Equal Protection Clause, the Due Process

  18   Clause, and the Guarantee Clause. And they seek sweeping relief, including

  19   decertification of the entirety of California’s recent election results, a declaratory

  20   judgment that numerous statutory and regulatory provisions of California election

  21   law are unconstitutional, and a preservation order covering twenty-four separate

  22   categories of electronic and vote-by-mail (“VBM”) election equipment and

  23   materials.

  24        All of Plaintiffs’ claims against the State Defendants fail as a matter of law.

  25   As a preliminary matter, Plaintiffs do not have Article III standing for any of the

  26   claims they raise or relief they seek. Plaintiffs’ alleged injuries are wholly

  27         1
               Dr. Shirley Weber was sworn in as California Secretary of State on January
       29, 2021, and is hereby substituted for former Secretary of State Alex Padilla.
  28   See Fed. R. Civ. P. 25(d).
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   1   speculative and impermissibly generalized, and they have failed to establish the
   2   requisite causation or redressability components for standing. Second, most of
   3   Plaintiffs’ claims are moot because they do not represent an actual controversy and
   4   Plaintiffs are unable to obtain the relief they seek. Third, it is well-established that
   5   claims brought under the Guarantee Clause are political questions outside the scope
   6   of the federal courts’ jurisdiction.
   7        Even if Plaintiffs could survive these deficiencies, none of their purported
   8   causes of action allege the facts necessary to state a claim, as explained below.
   9        The law provides ample legitimate options for contesting the validity of
  10   election results. A lawsuit like this is not among those options. The Court should
  11   grant the State Defendants’ motion, and dismiss the complaint with prejudice.
  12                                      BACKGROUND
  13   I.   FACTS ALLEGED IN THE COMPLAINT
  14        As mentioned, Plaintiffs are ten congressional candidates, each of whom lost
  15   their races in the November 2020 general election, and EIPCa, “a California non-
  16   profit public benefit corporation committed to defending, through education,
  17   research and advocacy the civil rights of U.S. citizens to fully participate in the
  18   election process under Federal and state law.” See ECF No. 1 (“Compl.”) at
  19   ¶¶ 14–24.
  20        Plaintiffs allege that for three decades, California officials and legislators have
  21   made changes to election laws in order “to allow widespread fraud and election
  22   interference to proceed unchecked.” Compl. at ¶ 47. According to Plaintiffs, this
  23   scheme is intentional: Plaintiffs allege that Californians’ right to vote has been
  24   “intentionally eroded” by laws “designed to create an environment in which
  25   elections could be manipulated and eligible voters disenfranchised.” Compl. at ¶ 3.
  26   The changes in question include moving from an absentee ballot option to a
  27   permanent VBM option, allowing for online voter registration, the establishment of
  28   a top-two primary system, allowing non-citizen residents to work on election
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    1   precinct boards, allowing for automatic registration through the DMV, allowing
    2   pre-registration by 16- and 17-year-olds, the implementation of a curing process for
    3   voters whose VBM ballots are flagged for rejection due to signature authorization
    4   problems, and requiring VBM envelopes to be postage paid. Compl. at ¶¶ 49–64.
    5   Notably, Plaintiffs do not challenge any of these laws.
    6         Plaintiffs do challenge as unconstitutional several executive orders and
    7   emergency regulations issued by Governor Newsom and former Secretary of State
    8   Alex Padilla in the run-up to the November 2020 general election. Compl. at
    9   ¶¶ 65–83. Executive Orders N-64-20 and N-67-20 were issued in May and June of
   10   2020 and—until superseded by legislation— required that every registered voter in
   11   California be mailed a VBM ballot for the November election. Compl. at ¶ 65.
   12   This requirement was subsequently enacted into law by the California Legislature
   13   through Assembly Bill 860 (“AB 860”); and after AB 860 was enacted, Governor
   14   Newsom confirmed that the executive orders had no further force or effect. Compl.
   15   at ¶ 65; Req. for Judicial Notice in Supp. of State Defs.’ Mot. to Dismiss the
   16   Compl. (“State Defs.’ RJN”), Ex. 1. Former Secretary Padilla issued emergency
   17   regulations relating to signature verification, ballot processing, and ballot counting
   18   on September 28, 2020. Compl. at ¶¶ 68–83; see Cal. Code Regs. tit. 2 (“2 CCR”),
   19   §§ 20910, 20960-20962, 20980-20985, 20990-20993; State Defs.’ RJN, Ex. 2.
   20         Plaintiffs also allege that numerous irregularities occurred at the county-level
   21   throughout the voting process, including obstruction of election observers, the
   22   observation of “opportunities for fraud,” and the use of Dominion and Smartmatic
   23   voting systems which Plaintiffs allege to contain “known vulnerabilities allowing
   24   miscounting and vote manipulation.” Compl. at 31 (capitalization modified); see
   25   Compl. at ¶¶ 90–137.
   26   II.   PROCEDURAL HISTORY
   27         Plaintiffs filed the Complaint for Declaratory and Injunctive Relief on January
   28   4, 2021, and a Temporary Restraining Order (“TRO”) application the next day.
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    1   See ECF Nos. 1, 21. After State Defendants filed their opposition, the Court denied
    2   Plaintiffs’ TRO application on January 11, 2021, without a hearing. See ECF Nos.
    3   31, 35.
    4                                   LEGAL STANDARD
    5   I.   FEDERAL RULE OF CIVIL PROCEDURE 12(B)(1)
    6        Federal Rule of Civil Procedure 12(b)(1) requires a court to dismiss a claim if
    7   it lacks subject-matter jurisdiction, which “defines [a court’s] power to hear cases.”
    8   Lightfoot v. Cendant Mortgage Corp., 137 S. Ct. 553, 560 (2017). “Federal courts
    9   are courts of limited jurisdiction,” and it is “presumed that a cause lies outside this
   10   limited jurisdiction.” Kokkonen v. Guardian Life Ins. of Am., 511 U.S. 375, 377
   11   (1994). Although the court must accept the allegations of the complaint as true, the
   12   burden of proof is on the party asserting federal subject-matter jurisdiction. See
   13   Chandler v. State Farm Mut. Auto Ins. Co., 598 F.3d 1115, 1121–22 (9th Cir.
   14   2010).
   15        Whether a case of controversy has become moot, depriving the court of
   16   jurisdiction under Article III, is properly raised under a Rule 12(b)(1) motion.
   17   White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). Similarly, “a lack of Article III
   18   standing requires dismissal for lack of subject matter jurisdiction under Federal
   19   Rule of Civil Procedure 12(b)(1).” Maya v. Centex Corp., 658 F.3d 1060, 1067
   20   (9th Cir. 2011).
   21        The court’s review of a Rule 12(b)(1) motion “is limited to the complaint,
   22   materials incorporated into the complaint by reference, and matters of which the
   23   court may take judicial notice,” see, e.g., Metzler Inv. GMBH v. Corinthian Colls.,
   24   Inc., 540 F.3d 1049, 1061 (9th Cir. 2008), and the court may not “supply essential
   25   elements of the claim that were not initially pled,” Chapman v. Pier 1 Imports
   26   (U.S.), Inc., 631 F.3d 939, 954 (9th Cir. 2011) (quotations omitted).
   27
   28
                                                          Memo of Ps & As ISO State Defendants’ Motion
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    1   II.    FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)
    2          A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the

    3   legal sufficiency of the claims in the complaint. See N. Star Int’l v. Ariz. Corp.

    4   Comm’n, 720 F.2d 578, 581 (9th Cir. 1983). “[C]onclusory allegations of law and

    5   unwarranted inferences are insufficient to defeat a motion to dismiss for failure to

    6   state a claim.” Epstein v. Wash. Energy Co., 83 F.3d 1136, 1140 (9th Cir. 1996)

    7   (citation omitted). “Dismissal is proper when the complaint does not make out a

    8   cognizable legal theory or does not allege sufficient facts to support a cognizable

    9   legal theory.” Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1041

   10   (9th Cir. 2011).

   11          On review of a 12(b)(6) motion, a court must “accept factual allegations in the

   12   complaint as true and construe the pleadings in the light most favorable to the

   13   nonmoving party.” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025,

   14   1031 (9th Cir. 2008). But the court does not accept the truth of legal assertions cast

   15   as factual allegations, Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011), nor

   16   must it “supply essential facts that were not initially pled,” Chapman, 631 F.3d at

   17   954.

   18          To withstand a 12(b)(6) motion, the complaint must allege “a claim to relief

   19   that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

   20   “A claim has facial plausibility when the plaintiff pleads factual content that allows

   21   the court to draw the reasonable inference that the defendant is liable for the

   22   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

   23   quotation marks omitted).

   24                                        ARGUMENT
   25   I.     PLAINTIFFS’ CLAIMS ARE NOT JUSTICIABLE
   26          A.   Plaintiffs Lack Article III Standing for All of Their Claims
   27          Article III of the United States Constitution confines the jurisdiction of federal

   28   courts “to the resolution of cases and controversies.” Valley Forge Christian Coll.
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    1   v. Ams. United for Separation of Church & State, 454 U.S. 464, 471 (1982)
    2   (internal quotation marks omitted). One of the “landmarks” used by courts to
    3   identify cases “that are of the justiciable sort referred to in Article III . . . is the
    4   doctrine of standing.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
    5   This “irreducible constitutional minimum of standing” requires that a plaintiff
    6   demonstrate three elements: (1) an “injury in fact” that is “concrete and
    7   particularized” and “actual or imminent”; (2) “a causal connection between the
    8   injury” and the defendant’s conduct; and (3) a likelihood “that the injury will be
    9   redressed by a favorable decision.” Id. at 560–61 (internal quotation marks
   10   omitted). These constitutional requirements are “rigorous.” Valley Forge, 454 U.S.
   11   at 475.
   12        Relevant to State Defendants, Plaintiffs here ask the Court for: (1) immediate
   13   orders directing Defendants to preserve certain election equipment and materials;
   14   (2) an order directing Defendants Newsom and Weber to decertify the election
   15   results; and (3) a declaration that AB 860, Executive Orders N-64-20 and N-67-20,
   16   California Elections Code section 3020, and California Code of Regulations, title 2,
   17   sections 20910, 20960–20962, 20980–20985, and 20990–20993 are
   18   unconstitutional. Compl. at 43-44, ¶¶ A–D. On these claims, none of the Plaintiffs
   19   satisfy all three requirements needed to establish Article III standing. On this basis
   20   alone, the entirety of the complaint can and should be dismissed.
   21              1.    Plaintiffs’ Alleged Injuries Are Wholly Speculative and
                         Impermissibly Generalized
   22
             It is not immediately evident what “injury in fact” Plaintiffs are alleging.
   23
        What is evident, however, is that they do not allege that they were prohibited from
   24
        voting, or that their votes were not counted. Rather, Plaintiffs advance an unusual
   25
        and unsupported theory of vote dilution, by which the value of their votes (and their
   26
        supporters’ votes) was diminished by Defendants’ actions “intentionally failing to
   27
        ensure that only legally cast VBM ballots were included in the canvass for the 2020
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    1   general election in California.” Compl. at ¶¶ 153, 165. This vote dilution theory is
    2   central to each of Plaintiffs’ four claims. See Compl. at ¶¶ 148, 155, 166, 173. In
    3   their Elections Clause and Guarantee Clause claims, Plaintiffs also raise allegations
    4   of generalized grievances relating to government conduct allegedly in violation of
    5   federal law. See Compl. at ¶¶ 147, 171–72. These injuries are insufficient to meet
    6   the requirements for Article III standing because they are both wholly speculative
    7   and impermissibly generalized. See, e.g., Schmier v. U.S. Ct. of Appeals for Ninth
    8   Cir., 279 F.3d 817, 821 (9th Cir. 2002) (“[T]he plaintiff must have sustained a
    9   ‘concrete’ injury, ‘distinct and palpable . . . as opposed to merely abstract’ . . . [a]nd
   10   that injury must have actually occurred or must occur imminently; hypothetical,
   11   speculative or other ‘possible future’ injuries do not count in the standings
   12   calculus.”) (quoting Whitmore v. Arkansas, 495 U.S. 149, 155 (1990)).
   13        Recent decisions from neighboring districts are illustrative here. Prior to the
   14   November 2020 election, one presidential campaign challenged a Nevada law that
   15   mandated ballots be mailed to all registered voters, similar to the laws challenged
   16   here by Plaintiffs. Granting defendant’s motion to dismiss, the court held that
   17   “[e]ven if accepted as true, plaintiffs’ pleadings allude to vote dilution that is
   18   impermissibly generalized.” Donald J. Trump for President, Inc. v. Cegavske,
   19   No. 2:20-cv-1445-JCM-VCF, 2020 WL 5626974, at *4 (D. Nev. Sept. 18, 2020).
   20   The court pointed to plaintiffs’ failure to “describe how their member voters will be
   21   harmed by vote dilution where other voters will not,” and agreed with an earlier
   22   district court decision that “plaintiffs’ claims of a substantial risk of vote dilution
   23   ‘amount to general grievances that cannot support a finding of particularized injury
   24   as to [p]laintiffs.’” Id. (quoting Paher v. Cegavske, No. 3:20-cv-00243-MMD-
   25   WGC, 2020 WL 2748301, at *4 (D. Nev. May 27, 2020). A similar argument was
   26   also rejected in a post-election challenge in Arizona, where the court noted not only
   27   the speculative and generalized nature of the alleged injury, but also the plaintiffs’
   28   failure to advance a viable theory of vote dilution. See Bowyer v. Ducey,
                                                          Memo of Ps & As ISO State Defendants’ Motion
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    1   No. CV-20-02321-PHX-DJH, 2020 WL 7238261, at *5 (D. Ariz. Dec. 9, 2020)
    2   (“As courts have routinely explained, vote dilution is a very specific claim that
    3   involves votes being weighed differently and cannot be used generally to allege
    4   voter fraud.”); see also id. at *6 (collecting cases).
    5        Here, Plaintiffs’ claims of vote dilution are based wholly on speculation that
    6   fraudulent ballots may have been counted. See, e.g., Compl. at ¶ 9 (“These election
    7   workers could have entered any candidates that they wished on these remade ballots
    8   while purposefully unobserved like this.”) (emphasis added). There are no specific
    9   allegations regarding the number of ballots, whether those ballots were in fact
   10   counted for or against Plaintiffs, or where exactly those ballots were cast. Any
   11   hypothetical injuries inflicted on Plaintiffs “are nothing more than generalized
   12   grievances that any one of the [17.5 million Californians] who voted could make if
   13   they were so allowed.” Id. at *5; cf. Juliana v. United States, 947 F.3d 1159, 1174
   14   (9th Cir. 2020) (“[A]ny injury from the dissolution of the Republic would be felt by
   15   all citizens equally, and thus would not constitute the kind of discrete and
   16   particularized injury necessary for Article III standing.”) (citing Friends of the
   17   Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000)).2
   18        Moreover, to the degree that Plaintiffs allege generalized injuries relating to
   19   Defendants’ alleged violations of the law, such injuries are insufficient for standing.
   20   “The only injury plaintiffs allege is that the law—specifically the Elections
   21   Clause—has not been followed. This injury is precisely the kind of
   22   undifferentiated, generalized grievance about the conduct of government that we
   23
              2
                 Plaintiffs’ status as former congressional candidates does not provide them
   24   any specialized basis for standing here. This action was commenced on January 4,
        2021. At that time, California’s election results had already been certified, and the
   25   members of the 117th Congress had been sworn in. See State Defs’ RJN, Exs. 4–5.
        Thus, as of the commencement of this suit, those Plaintiffs had ceased to be
   26   candidates for the 2020 general election. See Drake v. Obama, 664 F.3d 774,
        783–84 (9th Cir. 2011) (“Once the 2008 election was over and the President sworn
   27   in, Keyes, Drake, and Lightfoot were no longer ‘candidates’ for the 2008 general
        election.”) And because they were no longer candidates, they did not have any
   28   basis to claim harm based on their failed congressional campaigns.
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    1   have refused to countenance in the past.” Lance v. Coffman, 549 U.S. 437, 442
    2   (2007); see also Bowyer, 2020 WL 7238261, at *4 (rejecting plaintiffs’ Elections
    3   Clause claim on standing grounds). Accordingly, Plaintiffs’ failure to allege any
    4   concrete injuries in this matter are fatal to their claims against State Defendants,
    5   and provide sufficient grounds for dismissal.
    6             2.    Plaintiffs’ Claims Do Not Satisfy the Causation and
                        Redressability Prongs of the Standing Inquiry
    7
    8        Even if Plaintiffs had alleged an injury sufficient to establish standing—and
    9   they have not—their claims are even more dubious when turning to the other two
   10   prongs of standing. Plaintiffs have failed to show how their alleged injuries are
   11   fairly traceable to State Defendants’ conduct, and their requested relief would do
   12   absolutely nothing to actually redress any injuries Plaintiffs have alleged. See, e.g.,
   13   Lujan, 504 U.S., 560–61.
   14        Turning first to causation, Plaintiffs present no theory showing how Attorney
   15   General Becerra caused a diminution in the value of Plaintiffs’ votes. In regards to
   16   Governor Newsom, Plaintiffs rely on the fact that he issued Executive Orders N-64-
   17   20 and N-67-20 to mandate that all registered voters be mailed a VBM ballot
   18   (ignoring the fact that these executive orders were later superseded by legislation
   19   enacting the same requirement). See Compl. at ¶ 65; State Defs.’ RJN, Ex. 1.
   20   And for Secretary of State Weber, Plaintiffs allege that the emergency regulations
   21   adopted on September 28, 2020 allowed for fraud that allegedly diluted Plaintiffs’
   22   votes. See Compl. at ¶¶ 68–83.
   23        The crux of Plaintiffs’ argument against State Defendants is that the expansion
   24   of vote-by-mail preceding the 2020 general election created the conditions for
   25   widespread voter fraud. But by Plaintiffs’ own admission, even prior to the
   26   emergency orders, “approximately 75% of voters in California regularly received
   27   permanent VBM ballots . . . .” Compl. at ¶ 51. And none of the State Defendants
   28   carried out the election activities where Plaintiffs actually allege fraud occurred
                                                         Memo of Ps & As ISO State Defendants’ Motion
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    1   (e.g., signature verification, vote tabulation)—those are the tasks of local officials,
    2   and are also the focus of Plaintiffs’ most concrete allegations. There are no
    3   allegations, for example, that the State Defendants somehow manipulated vote
    4   tallies or submitted fraudulent votes. In fact, the Secretary of State’s emergency
    5   regulations were issued explicitly in order to “provide clear and uniform guidance”
    6   to counties regarding election administration, and to “ensure uniform practices” in
    7   relevant respects across the state. State Defs.’ RJN, Ex. 2. Such uniformity in fact
    8   helps ensure that no votes are “diluted,” and that every valid vote is counted
    9   accurately and equally.
   10        Perhaps even more problematic for Plaintiffs is the redressability requirement.
   11   In their prayer for relief, Plaintiffs first request orders mandating preservation of
   12   certain election equipment and materials. Compl. at 43, ¶¶ A–B. Even if Plaintiffs’
   13   claims otherwise had merit—and they do not—such an order would do nothing to
   14   redress their claims of vote dilution. The November 2020 election is finished, and
   15   merely preserving the equipment and materials in question would have no effect on
   16   any challenged procedures or alleged vote dilution in any future election. Mere
   17   preservation of materials from the election would therefore do nothing redress
   18   Plaintiffs’ claims.
   19        Perhaps realizing this, Plaintiffs then request that this Court order Defendants
   20   Newsom and Weber to decertify the entire “election results.” 3 Compl. at 43, ¶ C.
   21   But—putting to one side the fact that such a breathtaking act is plainly not possible
   22   now, if indeed it ever was—such drastic and sweeping action would actually
   23   worsen, rather than redress, Plaintiffs’ own alleged injuries. Rather than having the
   24   value of their votes diminished, as Plaintiffs claim, decertification would place
   25   Plaintiffs in the position of having the value of their votes effectively destroyed.
   26   And the same would be true for the remainder of the 17.5 million Californians who
   27
              3
                Presumably Plaintiffs intend to refer to the results of the November 2020
   28   general election, but this prayer for relief is not stated with such particularity.
                                                          Memo of Ps & As ISO State Defendants’ Motion
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    1   cast ballots in the 2020 general election. Cf. Townley v. Miller, 722 F.3d 1128,
    2   1134–35 (9th Cir.) (denying standing on redressability prong, where plaintiffs
    3   sought change to election ballot that would “worsen[] plaintiffs’ injury rather than
    4   redress[] it”). Moreover, Plaintiffs’ request for relief is clearly not tailored in the
    5   manner required. See, e.g., Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018) (“A
    6   plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury.”);
    7   see also Lewis v. Casey, 518 U.S. 343, 357 (1996) (“The remedy must of course be
    8   limited to the inadequacy that produced the injury in fact that the plaintiff has
    9   established.”). Plaintiffs do not limit their decertification request in any way. They
   10   are not requesting invalidation of fraudulent ballots; they are not even requesting
   11   decertification specifically in their races. Rather, they ask this Court to
   12   disenfranchise all Californians who voted in the November 2020 election. Such
   13   action would not only fail to redress Plaintiffs’ alleged injuries, but would also
   14   inflict grave injury on millions of this State’s residents. Besides the
   15   disenfranchisement, the Court’s acceptance of Plaintiffs’ proposed relief would set
   16   a dangerous precedent destroying any certainty as to the finality of election results,
   17   effectively invalidating state law requirements for resolving election disputes, and
   18   generally imparting violence on United States constitutional processes related to the
   19   casting and counting of electoral college votes and the transition of power between
   20   presidential administrations.
   21        Finally, Plaintiffs request declaratory relief finding numerous election
   22   provisions to be unconstitutional. Compl. at 43–44, ¶ D. Plaintiffs do not explain
   23   how such declaratory relief would redress their alleged injuries—and to the extent
   24   Plaintiffs’ alleged injuries turn on “irregularities” in the local administration of an
   25   election that has already occurred, it clearly would not. Likewise, Plaintiffs’
   26   challenges to AB 860 (which applied only to the November 2020 election) and
   27   Executive Orders N-64-20 and N-67-20 (which, upon the enactment of AB 860,
   28   had no further force or effect) cannot possibly redress any alleged injury they might
                                                          Memo of Ps & As ISO State Defendants’ Motion
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    1   suffer in the future. And Plaintiffs do not and cannot explain how any remaining
    2   challenges to California’s election laws (for example, Elections Code section
    3   3020)4 would redress any alleged injury, either.5
    4        Failing to meet any of the three prongs for Article III standing is fatal to a
    5   plaintiff’s claim. Here, Plaintiffs have failed to meet even one. On this basis alone,
    6   the entirety of Plaintiffs’ claims against State Defendants should be dismissed.
    7        B.   Plaintiffs’ Claims Are Moot
    8        “The inability of the federal judiciary to review moot cases derives from the
    9   requirement of Art. III of the Constitution under which the exercise of judicial
   10   power depends upon the existence of a case or controversy.” Preiser v. Newkirk,
   11   422 U.S. 395, 401 (1975). A controversy must be “definite and concrete” and
   12   “touch[] the legal relations of the parties having adverse legal interests.” DeFunis
   13   v. Odegaard, 416 U.S. 312, 317 (1974). Federal courts lack the power to “decide
   14   questions that cannot affect the rights of litigants in the case before them.” Preiser,
   15   422 U.S. at 401 (internal quotation marks omitted). In addition, “[i]f there is no
   16   longer a possibility that an appellant can obtain relief for his claim, the claim is
   17   moot and must be dismissed for lack of jurisdiction.” Foster v. Carson, 347 F.3d
   18   742, 745 (9th Cir. 2003) (quoting Ruvalcaba v. City of L.A., 167 F.3d 514, 521
   19   (9th Cir. 1999) (internal quotation marks omitted).
   20        Even if it were otherwise inclined to do so, this Court obviously cannot order
   21   Defendants Newsom and Weber to decertify the November 2020 election results at
   22   this point. As a practical matter, that election is long over, and the candidates who
   23
              4
                 See Compl. at 43–44, ¶ D (seeming to challenge Elections Code section
   24   3020); but see Compl. at ¶¶ 82–83 (seeming to challenge only those aspects of
        Elections Code section 3020 that applied specifically to the November 2020
   25   election).
               5
                 Additionally, Plaintiffs’ challenge to elections statutes duly enacted by the
   26   California Legislature stands in deep (and seemingly irreconcilable) tension with
        any theory of injury they might seek to advance under the Constitution’s Elections
   27   Clause, which stands for the Legislature’s power to enact laws concerning elections
        procedures. See Compl. at ¶¶ 144–50; cf. Bognet v. Sec’y of Commonwealth of Pa.,
   28   980 F.3d 336, 350–52 (3d Cir. 2020).
                                                          Memo of Ps & As ISO State Defendants’ Motion
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    1   prevailed in that election have already taken office. As a procedural matter, the
    2   California Elections Code (consistent with the U.S. Constitution’s Elections and
    3   Electors Clauses) prescribes specific procedures and timelines for any election
    4   contests; the deadlines for any such contest have long since passed. Plaintiffs had
    5   until December 7, 2020, to contest the election of presidential electors, and until
    6   December 21, 2020, to contest the election generally. See ECF No. 31 at 5–6;
    7   Cal. Elec. Code §§ 16003, 16401. Such a challenge must be brought in the
    8   California superior court having jurisdiction. Cal. Elec. Code § 16400. Plaintiffs
    9   had ample time and opportunity to properly contest the election results. The fact
   10   that Plaintiffs disregarded the lawful procedures for challenging the November
   11   2020 election results is no reason for this Court to do the same. Cf. Trump v. Wis.
   12   Elections Comm’n, 983 F.3d 919, 925–26 (7th Cir. 2020).6
   13        Given that decertification is not a viable remedy here, it would be meaningless
   14   to grant Plaintiffs’ requests concerning the preservation orders. See Compl. at 43,
   15   ¶¶ A–B. Similar requests have been made in other states, and dismissed as moot.
   16   E.g., Bowyer, 2020 WL 7238261, at *12 (“Because this Court cannot de-certify the
   17   results, it would be meaningless to grant Plaintiffs any of the remaining relief they
   18   seek.”); King v. Whitmer, No. 20-13134, 2020 WL 7134198, at *5 n.3 (“[T]he
   19   evidence Plaintiffs seek to gather by inspecting voting machines and software
   20   security camera footage only would be useful if an avenue remained open for them
   21   to challenge the election results.”), appeal filed, No. 20-2205 (6th Cir. Dec. 10,
   22   2020).
   23        Plaintiffs’ request for protective orders should further be dismissed as moot
   24   because they do not represent any genuine controversy. There is no valid reason or
   25
              6
                 Numerous courts that have considered this question following the
   26   November 2020 general election have reached the same conclusion. E.g., Bowyer,
        2020 WL 7238261, at *11–*12 (Arizona); Wood v. Raffensperger, 981 F.3d 1307,
   27   1316–18 (11th Cir. 2020) (Georgia), pet. for cert. docketed, No. 20-799 (Dec. 11,
        2020); King v. Whitmer, No. 20-13134, 2020 WL 7134198, at *5–*6 (E.D. Mich.
   28   Dec. 7, 2020), appeal filed, No. 20-2205 (6th Cir. Dec. 10, 2020).
                                                         Memo of Ps & As ISO State Defendants’ Motion
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    1   need to order Defendants not to destroy supposed evidence, primarily because there
    2   is absolutely no indication that spoliation of evidence has occurred or is being
    3   contemplated or planned. California Elections Code sections 17300 to 17306
    4   already require that certain election materials be preserved for twenty-two months
    5   following an election. And to the extent that Plaintiffs’ request includes materials
    6   or equipment not already covered under the Elections Code, State Defendants are
    7   on notice and therefore under a federally-imposed “duty to preserve evidence [they]
    8   know[] or should know is relevant to imminent litigation.” A. Farber & Partners,
    9   Inc. v. Garber, 234 F.R.D. 186, 193 (C.D. Cal. 2006). This Court has already
   10   addressed this issue in its order denying Plaintiffs’ request for TRO, see ECF No.
   11   35 at 4, and nothing has changed since then.
   12        Plaintiffs’ requests for declaratory relief seeking invalidation of Executive
   13   Orders N-64-20 and N-67-20, AB 860, and California Elections Code section 3020
   14   should likewise be dismissed because they do not present an ongoing case or
   15   controversy under Article III.7 As discussed above—and admitted by Plaintiffs in
   16   the Complaint, see Compl. at ¶ 65—the executive orders concerned only the
   17   November 2020 general election and ceased to have any force or effect long before
   18   this action was commenced. Similarly, the amendments enacted through AB 860,
   19   primarily mandating the State to send VBM ballots to every registered California
   20   voter, related only to the November 2020 general election. State Defs.’ RJN, Ex. 3.
   21   And while Plaintiffs ostensibly request that the entirety of Elections Code section
   22   3020 be declared unconstitutional, they appear only to take issue with the most
   23   recent amendments providing that VBM ballots received within seventeen days of
   24   the 2020 general election would be considered timely. See Compl. at ¶¶ 43–44,
   25   82-83; Cal. Elec. Code § 3020(d). Again, these claims are moot, because they
   26
              7
                 Because Executive Orders N-64-20 and N-67-20 no longer had any force
   27   or effect by the time the Complaint was filed, it may (strictly speaking) be most
        correct to dismiss the challenges to those orders for want of Article III standing,
   28   while dismissing Plaintiffs’ remaining challenges as moot.
                                                        Memo of Ps & As ISO State Defendants’ Motion
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    1   relate only to the election that has already passed and been certified. Cf. Wood v.
    2   Raffensperger, 981 F.3d 1307, 1317 (11th Cir. 2020) (“We cannot turn back the
    3   clock and create a world in which the 2020 election results are not certified.”)
    4   (quoting Fleming v. Gutierrez, 785 F.3d 442, 445 (10th Cir. 2015) (internal
    5   quotation marks omitted), pet. for cert. docketed, No. 20-799 (Dec. 11, 2020).
    6        For these additional reasons, the Court should dismiss this action with
    7   prejudice.
    8        C.      Plaintiffs’ Guarantee Clause Claim Raises Nonjusticiable
                     Political Questions
    9
             The Guarantee Clause of the United States Constitution states that “[t]he
   10
        United States shall guarantee to every State in this Union a Republican Form of
   11
        Government, and shall protect each of them against Invasion . . . .” U.S. Const.,
   12
        art. IV, § 4. Plaintiffs allege that Defendants have violated the Guarantee Clause
   13
        “by implementing laws, regulations and orders, and conducting elections, so as to
   14
        deny California and its citizens, including Plaintiffs, a republican form of
   15
        government,” and “so as to allow foreign interference in California elections.”
   16
        Compl. at
   17
        ¶¶ 171–72. As an initial matter, this cause of action should be dismissed because it
   18
        is well-established “that the Guarantee Clause does not provide the basis for a
   19
        justiciable claim.” Rucho v. Common Cause, 139 S. Ct. 2484, 2506 (2019).
   20
             “The view that the Guarantee Clause implicates only nonjusticiable political
   21
        questions” dates back to 1849. New York v. United States, 505 U.S. 144, 184
   22
        (1992) (citing Luther v. Borden, 7 How. 1, 12 L.Ed. 581 (1849)). When the
   23
        Supreme Court spoke on this issue in 1992, it acknowledged that “[t]his view has
   24
        not always been accepted,” but declined to provide further resolution. Id. at
   25
        183–85. In the years since New York, however, the Ninth Circuit has repeatedly
   26
        held that claims raised under the Guarantee Clause are nonjusticiable. See, e.g.,
   27
        Murtishaw v. Woodford, 255 F.3d 926, 961 (9th Cir. 2001) (“A challenge based on
   28
                                                         Memo of Ps & As ISO State Defendants’ Motion
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    1   the Guarantee Clause, however, is a nonjusticiable political question.”) (first citing
    2   New York, 505 U.S. at 184, then citing Pacific States Tel. & Tel. Co. v. Oregon,
    3   223 U.S. 118, 146 (1912)); State of Cal. v. United States, 104 F.3d 1086, 1091 (9th
    4   Cir. 1997) (“Supreme Court decisions have traditionally found that claims brought
    5   under the Guarantee Clause are nonjusticiable.”) (citation omitted).
    6         Most recently, in 2019, the Supreme Court reiterated that “[t]his Court has
    7   several times concluded that the Guarantee Clause does not provide the basis for a
    8   justiciable claim.” Rucho, 139 S. Ct. at 2506; cf. Juliana, 947 F.3d at 1174 (“A suit
    9   for violation of these reframed rights, like one for a violation of the Guarantee
   10   Clause, would also plainly be nonjusticiable.”) (citing Rucho, 139 S. Ct. at 2506).
   11   Accordingly, Plaintiffs’ fourth cause of action, based wholly on alleged violations
   12   of the Guarantee Clause, should also be dismissed on this independent basis.
   13   II.   PLAINTIFFS’ CLAIMS FAIL AS A MATTER OF LAW
   14         Even if Plaintiffs’ claims against State Defendants were somehow
   15   justiciable—and, as explained above, they are not—they would still fail. Plaintiffs
   16   have not, and cannot, allege the facts necessary to make out any cognizable claim
   17   under the asserted constitutional provisions.8
   18         A.   Elections Clause Claim
   19         The Elections Clause of the United States Constitution states that “[t]he
   20   Times, Places, and Manner of holding Elections for Senators and Representatives,
   21   shall be prescribed in each State by the Legislature thereof.” U.S. Const., Art. I,
   22   § 4, cl. 1. In their first cause of action, Plaintiffs allege that “Defendants have
   23   violated the Elections Clause by usurping the California State Legislature’s
   24
               8
                 Although the Court need not reach this issue, Plaintiffs’ failure to state a
   25   claim is only further heightened by the fact that their claims—which are rooted in a
        baseless and frivolous assertion that California officials have changed election laws
   26   “to allow widespread fraud and election interference to proceed unchecked,”
        Compl. at ¶ 47—fail to plead this alleged fraud with the particularity required by
   27   Rule 9. See Fed. R. Civ. P. 9; cf. Bowyer, 2020 WL 7238261, at *13 (dismissing
        claims rooted in alleged election fraud under Rule 9).
   28
                                                          Memo of Ps & As ISO State Defendants’ Motion
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                                                              to Dismiss the Complaint (2:21-cv-00032)
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    1   authority to set the manner of elections.” Compl. at ¶ 147. In so stating, Plaintiffs
    2   appear to be referring to only two of the challenged actions—Defendant Newsom’s
    3   issuance of Executive Orders N-64-20 and N-67-20, and the Secretary of State’s
    4   issuance of the emergency regulations regarding signature verification, ballot
    5   processing, and ballot counting.9 Even assuming that Plaintiffs have alleged a
    6   sufficiently particularized injury under the Elections Clause, which they have not,
    7   this claim fails. Nothing in these orders or emergency regulations impermissibly
    8   interferes with the time, places, and manner of conducting the election.
    9        As an initial matter, Plaintiffs do not dispute that both the Governor’s
   10   executive orders and the Secretary of State’s emergency regulations were issued in
   11   adherence with the state statutory authority provided by the Legislature. Governor
   12   Newsom’s orders were issued under the broad authority granted by the California
   13   Emergency Services Act, see Cal. Gov’t Code § 8550 et seq., and in particular
   14   Government Code sections 8567, 8571, and 8627. During times of a state
   15   emergency—such as the COVID-19 pandemic—the Governor has explicit authority
   16   to “make, amend, and rescind orders and regulations necessary to carry out the
   17   provisions of this chapter.” Cal. Gov’t Code § 8567(a); see also id. § 8627. He
   18   also has authority to suspend regulatory statutes and statutes relating to state
   19   business. Id. § 8571. Even so, the orders that Defendant Newsom issued
   20   mandating the mailing of a VBM ballot to all registered California voters were
   21   subsequently enacted into law by the Legislature through SB 860, as previously
   22   discussed.
   23        The emergency regulations were issued pursuant to three state sources of
   24   authority and one federal source. California Government Code section 12172.5,
   25   which outlines the duties of the Secretary of State, explicitly authorizes the
   26         9
                 A contradiction here is worth noting. Plaintiffs simultaneously assert that
        Defendants Newsom and Weber have “usurped” the Legislature’s Elections Clause
   27   authority by issuing orders and regulations related to the election, and ask this
        Court to declare duly enacted elections legislation (AB 860 and California Elections
   28   Code § 3020) to be unconstitutional.
                                                         Memo of Ps & As ISO State Defendants’ Motion
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    1   Secretary to “adopt regulations to assure the uniform application and administration
    2   of state election laws.” Cal. Gov’t Code § 12172.5(d). California Elections Code
    3   sections 3026 and 14314 state that “[t]he Secretary of State shall promulgate
    4   regulations establishing guidelines for county elections officials relating to the
    5   processing” of both VBM ballots and provisional ballots. Cal. Elec. Code §§ 3026,
    6   14314. And finally, federal law mandates that “[e]ach State shall adopt uniform
    7   and nondiscriminatory standards that define what constitutes a vote and what will
    8   be counted as a vote for each category of voting system used by the State.” 52
    9   U.S.C. § 21081(a)(6). The Secretary of State included clear references to the
   10   relevant sources of authority for each of the emergency regulations. See State
   11   Defs.’ RJN, Ex. 2
   12           This state-law legislative authority is fatal to Plaintiffs’ Elections Clause
   13   claim. “The dominant purpose of the Elections Clause was to empower Congress
   14   to override state election rules, not to restrict the way States enact legislation.”
   15   Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2672
   16   (2015). In this context, as elsewhere, “it is characteristic of our federal system that
   17   States retain autonomy to establish their own governmental processes.” Id. at 2673.
   18   Accordingly, for purposes of the Elections Clause (or the analogous Electors
   19   Clause), the term “Legislature” does “not mean the representative body alone.”
   20   Id. at 2666. Instead, the term “Legislature” “calls for the exercise of lawmaking
   21   authority,” id. at 2668 n.17, which is “to be performed in accordance with the
   22   State’s prescriptions for lawmaking,” id. at 2668. This requirement was satisfied
   23   here.
   24           Nor (contrary to Plaintiffs’ position) is there any other inconsistency between
   25   the state Defendants’ actions and state election law. Plaintiffs allege that some of
   26   the emergency regulations “directly contradict a number of state statutes intended to
   27   ensure that VBM ballots are legally cast.” Compl. at ¶ 69. In evaluating a motion
   28   to dismiss under Rule 12(b)(6), the Court need not accept the truth of legal
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    1   assertions cast as factual allegations, see e.g., Fayer, 649 F.3d at 1064, and should
    2   not do so here. Plaintiffs’ “factual” allegations on this topic are better viewed as
    3   (inaccurate) legal assertions—in essence, legal arguments that the Secretary of State
    4   violated state election laws and, in doing so, ran afoul of the Elections Clause. For
    5   instance, Plaintiffs allege that California Code of Regulations, title 2, section
    6   20991(b)(9) “allows the voter to submit virtually any piece of paper as a VBM
    7   ballot,” and that this regulation “contravene[s] [California Elections Code] § 13200,
    8   which provides that ballots not printed according to statutory specifications cannot
    9   be cast or counted and [California Elections Code] § 13002, which requires
   10   watermarking of printed ballots.” Compl. at ¶ 79. Aside from the fact that
   11   Plaintiffs’ do not actually allege that any voter did, in fact, vote in such a manner,
   12   the cited sections, 13200 and 13002, specifically regulate the printing and
   13   purchasing of ballots; they are not intended to address situations of nonconforming
   14   ballots. And Plaintiffs fail to mention the portion of the regulation that states that
   15   “[i]f the voter’s choice(s) can be determined, the ballot shall be duplicated pursuant
   16   to Election Code section 15210 to reflect the voter’s choices and processed as if
   17   cast by the voter.” Cal. Code Regs., tit. 2, § 20991(b)(9). California Elections
   18   Code section 15210 requires that “any ballot that is torn, bent, or otherwise
   19   defective shall be corrected so that every vote cast by the voter shall be counted by
   20   the automatic tabulating equipment,” including through the creation of a “true
   21   duplicate copy.” Cal. Elec. Code § 15210. Far from contradicting state law, the
   22   emergency regulation advances it.
   23        As another example, Plaintiffs allude to the “strict procedures to be followed
   24   for alternative ballots when a polling place exhausts its supply of ballots,” alleging
   25   that the “required use of official ballots is further reinforced by [California
   26   Elections Code] § 14299.” Compl. at ¶ 79. What the Elections Code actually states
   27   is that in such situations, voters may cast “his or her vote immediately using an
   28   alternative procedure established prior to the election.” Cal. Elec. Code § 14299(b).
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    1   The statute does not state any guidelines for the “alternative procedure,” besides
    2   mandating that it be approved by the Secretary of State. Id. § 14299(c).
    3        Plaintiffs have failed to allege a cognizable Elections Clause claim sufficient
    4   to survive a Rule 12(b)(6) motion. Both the Governor and the Secretary of State
    5   possess statutory authority to issue the orders and regulations that Plaintiffs
    6   challenge. Moreover, the “contradictions” that Plaintiffs allege between state
    7   election law and the emergency regulations simply are not, in fact, contradictions.
    8   Plaintiffs present no other basis for finding that State Defendants have “usurped”
    9   the Legislature’s authority under the Elections Clause, and the claim should be
   10   dismissed.
   11        B.   Equal Protection and Due Process Claims
   12        On both their equal protection and due process claims, Plaintiffs allege
   13   constitutional violations based on their vote dilution theory. Compl. at ¶¶ 153–55,
   14   165–66. Yet despite voluminous case law analyzing the Fourteenth Amendment,
   15   Plaintiffs do not cite to a single case that endorses their approach—nor could they,
   16   because it does not exist.
   17        Regarding their equal protection claim, Plaintiffs make no serious attempt at
   18   articulating anything approaching a classification used by State Defendants in the
   19   administration of the 2020 general election. They do allege a diminution in value
   20   of their own votes, the votes of their supporters, and the votes of EIPCa’s citizen
   21   observers. Compl. at ¶ 153. But the supposed cause of this “injury”—State
   22   Defendants’ “[intentional failure] to ensure that only legally cast VBM ballots
   23   were” counted in the election—in no way involves any classification or disparate
   24   treatment between voters. Rather, this supposed dilution would impact every vote
   25   equally. As pled by Plaintiffs, no vote would have greater or lesser weight on the
   26   basis of any discernable classification, except perhaps if one were to consider a
   27   class of individuals who voted legally, versus a class of individuals who voted
   28   illegally. See Citizens for Fair Representation v. Padilla, 815 F. App’x. 120, 1234
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    1   (9th Cir. 2020) (rejecting standing in equal protection claim raised on the basis of
    2   vote dilution). Even so, Plaintiffs do not allege this classification, and it certainly is
    3   not a classification that State Defendants used.
    4        Analysis of Plaintiffs’ equal protection claim necessarily overlaps with the
    5   prior standing analysis. This is because a plaintiff may establish standing on an
    6   equal protection claim on the basis of an injury that is “widely shared,” so long as it
    7   is also “concrete and specific.” FEC v. Akins, 524 U.S. 11, 24-25 (1998). But as
    8   already discussed above, Plaintiffs’ “conceptualization of vote dilution—state
    9   actors counting ballots in violation of state election law—is not a concrete harm
   10   under the Equal Protection Clause of the Fourteenth Amendment.” Bowyer, 2020
   11   WL 7238261, at *5 (quoting Bognet v. Sec’y of Commonwealth of Pa., 980 F.3d
   12   336, 355 (internal quotation marks omitted), petn. for cert docketed, No. 20-740
   13   (Nov. 27, 2020)).
   14        Plaintiffs further attempt to ground their equal protection claim on the
   15   allegation that State Defendants “appl[ied] disparate rules in different counties,
   16   causing the votes of some California citizens to be treated differently from those of
   17   others.” Compl. at ¶ 154. Yet Plaintiffs offer no support for this allegation, and
   18   they in fact challenge the emergency regulations that were promulgated for the
   19   explicit purpose of ensuring consistency in vote counting throughout the state.
   20   See State Defs.’ RJN, Ex. 2.
   21        Plaintiffs cite a wide array of cases in an attempt to support their due process
   22   claim. See Compl. at ¶¶ 158–68. In the end, though, those citations provide little
   23   support for Plaintiffs’ claim. As a general matter, the right to vote is fundamental,
   24   and it is protected by the Fourteenth Amendment. But Plaintiffs have not alleged
   25   that they were denied their right to vote, or that their votes were not counted.
   26   Again, their claim rests entirely upon their unrecognized theory of vote dilution, by
   27   which “fraudulent” votes were cast (with no allegations regarding how many, in
   28   which counties, or whether they were for or against Plaintiffs, for example), in turn
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    1   diminishing the value of Plaintiffs’ votes. But “vote dilution,” as traditionally
    2   conceptualized and recognized by the courts, “refers to the idea that each vote must
    3   carry equal weight.” Rucho, 139 S. Ct. at 2501. And even under Plaintiffs’ version
    4   of facts, each vote did carry equal weight.
    5        Plaintiffs largely rely on quotations from two Supreme Court cases in an
    6   attempt to support their theory. See Compl. at ¶¶ 161–64. The first, Anderson v.
    7   United States, was a criminal appeal involving defendants who had been convicted
    8   under a federal statute for casting fictitious votes for federal, state, and local offices.
    9   See 417 U.S. 211 (1974). The excerpts that Plaintiffs cite are dicta, and the Court
   10   made no holding regarding the applicability of vote dilution as an injury sufficient
   11   to establish a violation of due process. See id. at 226–27; Compl. at ¶¶ 162–63.
   12   The second is Reynolds v. Sims, a civil rights era case in which Chief Justice
   13   Warren authored the opinion holding that Alabama’s proposed apportionment plans
   14   violated the Equal Protection Clause. See 377 U.S. 533 (1964). Reynolds is
   15   illustrative of exactly what Plaintiffs seem to be missing here—that “vote dilution,”
   16   as understood in the context of the Fourteenth Amendment and civil rights, is when
   17   a “favored group has full voting strength,” and “[t]he groups not in favor have their
   18   votes discounted.” Id. at 555, n.29 (quoting South v. Peters, 339 U.S. 276, 279
   19   (1950) (Douglas, J., dissenting)). It offers no support for either Plaintiffs’ due
   20   process or equal protection claims against State Defendants, both of which should
   21   be dismissed.
   22        C.    Guarantee Clause Claim
   23        As discussed above, see supra, I.C., it is well-established that claims raised
   24   under the Guarantee Clause are “nonjusticiable political question[s].” Murtishaw,
   25   255 F.3d at 961; see also Rucho, 139 S. Ct. at 2506; New York, 505 U.S. at 184;
   26   Pacific States Tel. & Tel. Co., 223 U.S. at 146; State of Cal., 104 F.3d at 1091.
   27   Accordingly, Plaintiffs’ fourth cause of action also fails to state a cognizable claim
   28   upon which relief may be granted, and should be dismissed.
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    1                                    CONCLUSION
    2        The claims raised here by Plaintiffs are baseless. For the foregoing reasons,
    3   all claims against State Defendants should be dismissed, with prejudice.
    4
    5   Dated: February 12, 2021                    Respectfully submitted,
    6                                               XAVIER BECERRA
                                                    Attorney General of California
    7                                               ANTHONY R. HAKL
                                                    Supervising Deputy Attorney General
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   10                                               RYAN A. HANLEY
                                                    Deputy Attorney General
   11                                               Attorneys for State Defendants
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